Case 1:06-cv-02318-MSK-MJW Document 3 Filed 11/21/06 USDC Colorado Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Honorable Marcia S. Krieger

  Civil Action No. 06-cv-02318-MSK-MJW

  ABRAHAM J. OSMAN, and
  DOROTHY K. OSMAN,

                 Plaintiffs,

  v.

  THE UNITED STATES OF AMERICA,

                 Defendant.



           ORDER REGARDING CUSTODY OF EXHIBITS AND DEPOSITIONS


         IT IS ORDERED that, as to any exhibits and depositions to be used during this case,

  counsel for the parties shall obtain such exhibits and depositions from the Court within 30 days

  after any judgment is entered or closure of the case. Counsel shall retain same for 60 days beyond

  the later of the time to appeal or conclusion of any appellate proceedings. Failure to retrieve

  exhibits and depositions in conformance with this Order may result in their destruction.

         Dated this 21st day of November, 2006.

                                                        BY THE COURT:




                                                        Marcia S. Krieger
                                                        United States District Judge
